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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             Case No. 8:06CR142
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
MILAN ROBINSON,                               )
                                              )
                      Defendant.              )


       On oral motion of defendant for a continuance, with the agreement of the government, the

court grant's the defendant's motion and schedules this matter for a change of plea on August 11,

2006, at 8:30 a.m., Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,

Omaha, Nebraska. The court finds that the ends of justice will be served by granting the

continuance based on the representation that the parties intend to enter into a plea agreement.

Failure to grant the motion would deny the defendant reasonable time necessary to effectively

negotiate or finalize a plea agreement or to prepare for entry of a guilty plea. The time between

July 20, 2006, and August 11, 2006, is deemed excludable time in any computation of time under

the Speedy Trial Act. See 18 U.S.C. § 3162(h)(8)(A) & (B); Zedner v. United States, —- S. Ct. —,

2006 WL 1519360 (U.S., June 5, 2006).

       DATED this 20th day of July, 2006.

                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
